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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


LAURA WOOD and PEORIA POLICE                Civ. Action No. ________________
PENSION FUND, Derivatively and on Behalf
of the Nominal Defendant CENTENE
CORPORATION,                                PUBLIC REDACTED VERSION

                    Plaintiffs,
                                            JURY TRIAL DEMANDED
v.

MICHAEL F. NEIDORFF, ROBERT K.
DITMORE, DAVID L. STEWARD, JOHN R.
ROBERTS, TOMMY G. THOMPSON,
FREDERICK H. EPPINGER, RICHARD A.
GEPHARDT, ORLANDO AYALA, VICKI
B. ESCARRA, and JEFFREY A.
SCHWANEKE,

                    Defendants,

and

CENTENE CORPORATION,

                    Nominal Defendant.



               VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
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        Plaintiffs Laura Wood (“Wood”) and Peoria Police Pension Fund (“Peoria,” together

“Plaintiffs”), by and through their undersigned counsel, bring this action derivatively on behalf

of Nominal Defendant Centene Corporation (“Centene” or the “Company”) against certain of its

current and former directors and officers (“Individual Defendants”). The allegations below are

made upon personal knowledge as to Plaintiffs and their own acts, and upon information and

belief as to all other matters, based upon an in-depth review of: (a) information publicly

disseminated by Centene, including its public filings with the U.S. Securities and Exchange

Commission (“SEC”), and postings on its website; (b) news reports, press releases, and other

publicly available sources; (c) court dockets, filings, and opinion orders related to litigation

against Centene in federal courts; and (d) documents obtained pursuant to a demand made on the

Company pursuant to 8 Del. C. §220 (the “220 Documents” and “220 Demand”).

I.      NATURE OF THE ACTION

        1.     This is a shareholder derivative action brought on behalf of Nominal Defendant

Centene against certain of its directors and officers for violation of the federal securities laws,

breaches of fiduciary duties, and other wrongdoing. These wrongs resulted in millions of dollars

in damages to Centene’s reputation, goodwill, and standing in the business community, and have

exposed the Company to further potential liability for violations of the federal securities laws.

        2.     Beginning from at least June 2015 to the present (the “Relevant Period”), the

Individual Defendants (defined infra ¶30) breached their fiduciary duties and the federal

securities laws in soliciting a proxy sent to Centene shareholders unanimously supporting a

merger between Centene and now-subsidiary Health Net, Inc. (the “Merger”). In the months

before the Merger, the Individual Defendants conducted due diligence and reviewed the financial

statements and other relevant information concerning the business combination of Health Net




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Inc. (“Health Net”) and Centene. The Individual Defendants, in connection with that review and

the dissemination of the proxy, knowingly misstated Health Net’s business, including revenues,

income, and liabilities, and failed to correct such misstatements for over nine months.

       3.      On July 2, 2015, Centene announced that it had entered into an agreement with

Health Net whereby Centene would purchase all of Health Net’s outstanding stock. Health Net

at the time was a health insurance company that primarily offered policies in California and

Arizona. Centene emphasized as the primary reason for the Merger that it would allow the

Company to expand into new markets, i.e., California, and realize synergies by integrating with

Health Net.

       4.      After the Merger announcement, the Director Defendants repeatedly received

updates on the Centene-Health Net integration process,




       5.      The due diligence and Centene’s integration with Health Net, as well as the

reports to the Director Defendants, continued for months as the Company sought the necessary

regulatory approval from insurance regulators, including in California and Arizona.         The

Company initially expected the Merger to close by February 1, 2016, but the Merger was

delayed pending approval from California insurance regulators and closed on March 24, 2016,

just days after California regulators approved the Merger subject to specific conditions.




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        6.      During the nine-month period when the Individual Defendants began their pre-

merger due diligence until the Merger’s close, Centene issued repeated statements of Health Net

assets and liabilities that Centene had agreed to acquire in the Merger. Centene stated that it did

not have “full access” to Health Net information about intangible assets, but internally the

Director Defendants had a clear picture of the true nature of Health Net’s business due to their

close involvement in the Proxy.

        7.      It took the Company until April 26, 2016, over a month after the Merger’s March

24, 2016 close, to report a full accounting of the now-combined Company’s assets and liabilities.

Centene reported the value of its acquired Health Net business, and assured shareholders that the

reserves it had set aside to pay insurance claims, including Health Net’s claims, were adequate.

        8.      However, as the Director Defendants had been continuously informed even before

the Merger was announced, Centene’s statements regarding Health Net’s value and its reserves

were false and misleading. Health Net had actually experienced dramatic increases in claims on

its policies for substance abuse care in California, causing its liabilities to increase drastically in

2014 and 2015, and its profitability to accordingly decline. In November 2015 and into March

2016, Centene ceased payments to substance abuse treatment centers to curtail policy losses and

increasing liabilities.

        9.      The Director Defendants had known as much since

       , but failed to act to correct the Company’s misstatements.           They were specifically

informed in                    that,




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                                 . The Director Defendants were also informed that

                                                                       .

         10.   By July 2016, the Individual Defendants were forced to disclose that Health Net

had incurred $390 million in liabilities which existed as of the March 24, 2016 merger date, but

which Centene had previously concealed. The increased liabilities were greater than Health

Net’s entire pre-tax annual earnings in recent years, making clear that Health Net’s earnings

in the Proxy were vastly overstated. Centene was forced to record these increased liabilities

because its acquired California and Arizona commercial insurance products were not as

profitable as previously disclosed. As the Company eventually disclosed, Health Net’s revenue

and income were both reduced drastically, prompting the Company to request “price increases

and benefit design changes, including reductions in reimbursement for out of network services as

the Company paid a higher percentage of its insurance claims.” Profitability in Arizona was so

poor that Centene was eventually forced to exit the market entirely.

         11.   As a result of these material misstatements and omissions, the Individual

Defendants caused Centene to buy Health Net at an inflated price, and erased over $1 billion in

shareholder value when the truth was revealed on July 26, 2016. Analysts also called into

question the Company’s credibility, further harming the Company by eliminating goodwill and

trust in the Company’s executives.

II.      JURISDICTION AND VENUE

         12.   Pursuant to Article III, Section 2 of the United States Constitution and 28 U.S.C.

§1331 of the Securities Exchange Act of 1934 (the “Exchange Act”), this Court has jurisdiction

over the claims asserted herein for violations of section 14(a) of the Exchange Act. This Court

has supplemental jurisdiction over the remaining claims under 28 U.S.C. §1367. The other




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claims in this action are so related to the section 14(a) claims that fall within this Court’s original

jurisdiction that they form part of the same case or controversy under Article III, Section 2 of the

United States Constitution.

       13.     This Court has jurisdiction over each defendant named herein because each

defendant is either a corporation that conducts business in and maintains operations in this

District, or is an individual who has sufficient minimum contacts with this District to render the

exercise of jurisdiction by the District courts permissible under traditional notions of fair play

and substantial justice.

       14.     Venue is proper in this Court in accordance with 28 U.S.C. §1391(a) because (i)

Centene maintains its principal place of business in this District; (ii) one or more of the

defendants either resides in or maintains executive offices in this District; (iii) a substantial

portion of the transactions and wrongs complained of herein, including the defendants’ primary

participation in the wrongful acts detailed herein, occurred in this District; and (iv) defendants

have engaged in numerous activities that had an effect in this District.

III.   THE PARTIES

       A.      Plaintiffs

       15.     Plaintiff Laura Wood (“Wood”) is a Centene shareholder and has continuously

held Centene stock since at least February 2008. Wood will fairly and adequately represent

Centene’s interests in this action.

       16.     Plaintiff Peoria Police Pension Fund (“Peoria”) is a Centene shareholder and has

continuously held Centene stock since at least May 2010. Peoria will fairly and adequately

represent Centene’s interests in this action.




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          B.    Nominal Defendant

          17.   Nominal Defendant Centene Corporation maintains its headquarters at 7700

Forsyth Boulevard, St. Louis, Missouri 63105 and is incorporated in Delaware. Centene sells

health insurance in several states in the United States, including Medicaid contracts, Medicare

Advantage offerings, Medi-Cal, and certain commercial policies.

          C.    Director Defendants

          18.   Defendant Michael F. Neidorff (“Neidorff”) is and has been a Centene director,

President, and CEO of Centene since May 1996. Neidorff also began serving as the Chairman of

the Board starting in May 2004. Defendant Neidorff was named as a defendant in the Securities

Action.

          19.   Defendant Robert K. Ditmore (“Ditmore”) is and has been a Centene director

since 1996. Ditmore is the current “presiding director” of the Board. Ditmore was previously

President and Chief Operating Officer of United Healthcare Corporation (now known as

UnitedHealth Group, Inc.), and has extensive healthcare and service industry expertise.

          20.   Defendant David L. Steward (“Steward”) is and has been a Centene director since

May 2003. Centene’s latest-filed proxy statement lists political and regulatory relationships as

an area of Steward’s experience.

          21.   Defendant John R. Roberts (“Roberts”) is and has been a Centene director since

March 2004. Roberts previously served as Chairman of the Audit Committee for Regions

Financial Corporation for 13 years. Centene’s latest-filed proxy statement lists public company

governance expertise as an area of Roberts’ experience.

          22.   Defendant Tommy G. Thompson (“Thompson”) is and has been a Centene

director since April 2005. Thompson previously served as President of Logistics Health, Inc.




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from 2005 to 2011, and as secretary of the U.S. Department of Health & Human Services from

1987 to 2001. He also serves as a director for C.R. Bard, Inc., TherapeuticsMD Inc., Physicians

Realty Trust and United Therapeutics Corp. Thompson has also previously served as a director

for AGA Medical Corp. and Cancer Genetics.             Centene’s latest-filed proxy statement lists

political and regulatory relationships and healthcare expertise as areas of Thompson’s

experience.

        23.    Defendant Frederick H. Eppinger (“Eppinger”) is and has been a Centene director

since April 2006. Eppinger is a retired director, President and Chief Executive Officer of The

Hanover Insurance Group, Inc. Centene’s latest-filed proxy statement lists insurance industry

expertise as an area of Eppinger’s experience.

        24.    Defendant Richard A. Gephardt (“Gephardt”) is and has been a Centene director

since December 2006.      Centene’s latest-filed proxy statement lists political and regulatory

relationships as well as healthcare expertise as areas of Gephardt’s experience.

        25.    Defendant Orlando Ayala (“Ayala”) is and has been a Centene director since

September 2011.

        26.    The Director Defendants named in ¶¶18-25 constitute all of the current directors

of the Company, except for non-defendant director Jessica L. Blume, who was elected to serve

on the Company’s Board on February 5, 2018.

        27.    The Director Defendants served on the following Board committees during the

following years (“C” denoting the chair), which held the following number of meetings each

year:

                                    Audit Committee
                                      2016 2015 2014 2013 2012 2011
              Number of Meetings Held 4     6     4  5    5    5
              Michael F. Neidorff


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             Robert K. Ditmore
             David L. Steward
             John R. Roberts           C     C    C     C             C      C
             Tommy G. Thompson
             Frederick H. Eppinger     X     X    X     X             X      X
             Richard A. Gephardt
             Orlando Ayala
             Vicki B. Escarra          X
                                 Compensation Committee
                                       2016 2015 2014 2013            2012 2011
             Number of Meetings Held 5       5    5     5             5    5
             Michael F. Neidorff
             Robert K. Ditmore         C     C    C     C             C      C
             David L. Steward          X     X    X     X             X      X
             John R. Roberts
             Tommy G. Thompson         X     X    X     X             X      X
             Frederick H. Eppinger
             Richard A. Gephardt
             Orlando Ayala             X     X    X     X             X      X
             Vicki B. Escarra
                          Nominating and Governance Committee
                                       2016 2015 2014 2013            2012 2011
             Number of Meetings Held 1       1    1     1             2    1
             Michael F. Neidorff
             Robert K. Ditmore         X     X    X     X             X      X
             David L. Steward          C     C    C     C             C      C
             John R. Roberts
             Tommy G. Thompson         X     X    X     X             X      X
             Frederick H. Eppinger
             Richard A. Gephardt
             Orlando Ayala
             Vicki B. Escarra

       D.     Executive Defendants and Former Director Defendants

       28.    Defendant Vicki B. Escarra (“Escarra”) was a Centene director from March 2016

to March 2017. Escarra informed Centene that continued service on the Board would “unduly

interfere with a business opportunity” on March 1, 2017, and decided not to stand for reelection

at the Company’s 2017 annual meeting of shareholders. Escarra previously served as a director

of Health Net, Inc., from July 2006 to the date of the Merger close on March 24, 2016, and




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became a Centene director pursuant to the terms of the Merger agreement. Centene’s latest-filed

proxy statement lists political and regulatory relationships and healthcare expertise as areas of

Escarra’s experience.

       29.     Defendant Jeffrey A. Schwaneke (“Schwaneke”) was Centene’s Chief

Accounting Officer, Corporate Controller, and Senior Vice President. On March 24, 2016,

Schwaneke was appointed Centene’s Chief Financial Officer, Executive Vice President, and

Treasurer. On April 28, 2016, the Company announced the appointment of Christopher Isaak as

Centene’s Chief Accounting Officer, effective immediately. Defendant Schwaneke was named

as a defendant in the Securities Action.

       30.     Defendants Neidorff, Ditmore, Steward, Roberts, Thompson, Eppinger, Gephardt,

Ayala, Escarra, and Schwaneke are collectively referred to herein as “Individual Defendants.”

IV.    THE INDIVIDUAL DEFENDANTS’ DUTIES AND OBLIGATIONS

       A.      Duties of All Individual Defendants

       31.     By reason of their positions as officers and/or directors of Centene, and due to

their ability to control the business and corporate affairs of Centene, the Individual Defendants

owed Centene and its shareholders the fiduciary obligations of loyalty and candor.           The

Individual Defendants were obligated to use their utmost abilities to control and manage Centene

in an honest and lawful manner, and to promptly disseminate accurate and truthful information

with respect to the Company’s operations, earnings, and compensation practices. This fiduciary

obligation includes the obligation to accurately disseminate financial information in connection

with any shareholder proxy statement disseminated to Centene shareholders, as well as the

timely filing of accurate Company financial information. In sum, the Individual Defendants




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were and are required to act in furtherance of the best interests of Centene and its shareholders,

and not in their own personal interest or benefit.

       32.     Because of their positions of control and authority as directors and/or officers of

Centene, and their attendance and votes at meetings of the Board and its subcommittees, the

Individual Defendants were able to and did, directly and/or indirectly, exercise control over the

wrongful acts complained of herein. As to the Director Defendants, these acts include: soliciting

shareholder votes based on an incomplete and misleading proxy statement, disseminating false

and misleading information in the Company’s financial statements, and failing to act to correct

such misstatements and omissions.        Because of their advisory, executive, managerial, and

directorial positions within Centene, and their attendance at meetings of the Board and its

subcommittees, and through their receipt of packages of information distributed in connection

with these meetings, each of the Individual Defendants had access to information regarding the

improper business practices of Centene.

       33.     The Individual Defendants’ conduct complained of herein involves a knowing and

culpable violation of their obligations as directors and/or officers of Centene, the absence of

good faith on their part, and a reckless disregard for their duties to the Company and its

shareholders, which the Individual Defendants were or should have been aware, posed a risk of

serious harm to the Company.

       34.     Centene’s Business Ethics and Conduct Policy (the “Code of Conduct”) approved

by the Board of Directors expressly requires, in pertinent part, that “all directors, officers and

employees of Centene Corporation comply with the standards contained in the Code,

immediately report any perceived violations and assist in investigating any allegations of

wrongdoing.” The Code of Conduct further provides:




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    Ethics

    It is the long-standing policy of the Company to observe all applicable laws. This
    commitment does not stop here. Even where the law is permissive, the Company
    shall choose the course of the highest integrity. Local customs and traditions
    differ from place to place. Honesty and integrity, however, are not subject to
    criticism in any culture. Shades of dishonesty simply invite demoralizing and
    reprehensible judgments. A well-founded reputation for scrupulous dealings is an
    invaluable asset. All directors, officers and employees must understand that at
    Centene Corporation, we care how results are obtained, not just that they are
    obtained. Each director, officer and employee must be honest and forthcoming
    about any questionable situation.

                                            ***

    Financial Records & Controls – Protection of Reputation and Financial
    Strength

    Centene is committed to encouraging candid communication and transparency by
    keeping complete and accurate records and implementing appropriate system
    controls. This commitment includes general business and financial records.
    Accurate documentation should always be a priority. No employee should enter
    into any transaction with the understanding that it is anything other than what is
    described in the agreement and supporting documentation.

    The unalterable Policy of the Company is that all transactions must be transparent
    and properly recorded. There must be no disbursement or receipt of corporate
    funds outside the Company’s system of accountability. This means there will be
    no “off books” funds, payments or transactions, no “unofficial” funds, payments
    or transactions, and that all funds, payments and transactions must be recorded in
    accordance with the regular accounting process prescribed by the Company.

    Our records must be complete and accurate, fully reflecting the Company’s
    activities and transactions including claim payments, medical billing
    documentation, expenses, purchases, accounts receivable and sales. The
    information derived from these records is provided to the Company’s
    shareholders, as well as governmental agencies; therefore, processes must follow
    generally accepted accounting principals [sic] and all relevant laws and
    regulations. Centene’s reputation for integrity, as well as financial strength,
    depends on this.

    It is difficult to delineate every practice that is or is not permissible, but certain
    general guidelines can be set forth. For example, a payment is prohibited if:

       •     It is illegal
       •     It is inconsistent with Centene’s defined values




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       •   No record of its disbursement or receipt is entered into the accounting
           records of the Company
       •   It is entered into the accounting records of the Company in a manner
           which is false or misleading.

    Inter-company transactions must also comply with the highest standards of
    transparency. To ensure this, it is our policy to price all inter-company
    transactions so they comply with federal and state laws and contractual
    obligations. Where an appropriate market price can be determined, inter-
    company transactions will be priced at a level consistent with fair market value.
    In the absence of market pricing, charges for inter-company transactions will be
    based on cost and reasonable profit data so as to approximate fair market value.
    All transfer pricing will be regularly reviewed (including reviews by independent
    third parties) to ensure compliance with Company policy.

    Because business records and controls can be complex, you should consult the
    Ethics and Compliance Department or Internal Audit Department when questions
    arise.

    Commitment to Honesty – Honesty is Always Centene’s Policy

    Honesty means communicating candidly and truthfully in all of our business
    relationships and transactions. While anyone can make an honest mistake, fraud
    is different. Fraud is not a mistake. Fraud involves deliberate deception.

    Fraud is not only unethical, it is also illegal. Examples of fraud include:

       •   Falsifying information submitted on a claim or in a care plan
       •   Submitting false expense reports
       •   Misappropriating assets or misusing Centene property
       •   Inflating year-end numbers
       •   Forging or altering checks
       •   Improperly changing Company records or financial statements

    Inside Information – Fairness and Honesty in the Investment Community

    Centene is committed to always being transparent in how it manages information
    of interest to the investment community. Employees who have access to
    confidential or non-public information are not permitted to use or share that
    information for stock trading purposes or other non-business purpose that might
    result in personal financial benefit or to serve as a “tip” to others. Using inside
    information in this manner is unethical, illegal and could result in civil or criminal
    penalties. It also violates our commitment to acting with the highest standard of
    integrity.

    “Inside information” is any non-public information that a reasonable investor is
    likely to consider important in making investment decisions.


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    Examples of non-public inside information include:

       •   Projections of future earnings or losses
       •   News of a pending merger or acquisition
       •   News of any significant sale of assets or the disposition of a subsidiary
       •   Declaration of a stock split or an offering of additional securities
       •   Planned changes in senior management
       •   Significant new products
       •   Impending bankruptcy or financial liquidity problems
       •   The gain or loss of a significant vendor or customer
       •   The possible awarding or cancellation of a significant contract

    Centene discloses financially significant information to the public by issuing a
    press release on earnings guidence [sic] and filing reports with the United States
    Securities and Exchange Commission. Information becomes public once a
    release appears on a national news wire, or a filing is made, after which the
    information is posted on Centene’s website at www.centene.com.

    Centene’s board members, officers, certain employees and their related family
    members may not buy or sell Centene securities based on inside information.
    Once that information has been properly disclosed, board members and certain
    employees and their closely related family members must wait two full business
    days after the announcement before buying or selling Centene securities.

    Conflicts of Interest – Integrity is Our Most Important Value

    Centene is committed to communicating candidly, openly, and honestly with its
    employees. Employees are expected to do the same when dealing with Centene
    or any of its subsidiaries. Conflicts of interest arise when loyalty is divided
    between the Company’s best interest and our own personal interests. Life is full
    of situations where we have multiple interests, and there is nothing unethical
    about that. The ethical complications arise only when we act on the basis of our
    own personal interests rather than those that are in the best interest of Centene.

    Conflicts of interest could include:

       •   Working at an outside job that interferes with your position at Centene or
           competes with the Company
       •   Serving as an officer or director of or having ownership interest in another
           company that does business or competes with Centene
       •   Having a family member that has ownership interest in another company
           that does business or competes with Centene
       •   Using Centene information for your own personal gain, to benefit a family
           member or another company for which you serve as an officer or director,
           or in which you have financial interest




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             •   Participating in business transactions for your own personal gain based on
                 information or relationships developed as a Centene employee
             •   Failing to disclose that you are closely related to someone such as a
                 vendor or customer who has sought or is seeking a financial relationship
                 with Centene
             •   Employing relatives or close friends who report directly to you
             •   Having a romantic relationship with an employee that you supervise or
                 that is in your line of supervision

       If an employee wishes to engage in a transaction or activity which is, or
       potentially may be in conflict, the employee must first make a full written
       disclosure to the Chief Compliance Officer, an objective senior executive officer,
       the Chairman, President and CEO or the Board of Directors. Centene will
       evaluate the written disclosure and make a determination. Following this
       procedure will ensure that conflict of interest provisions are not violated.

       B.        Additional Duties of the Director Defendants on the Centene Audit
                 Committee

       35.       The Centene Board has delegated additional responsibilities to its Audit

Committee (made up of Director Defendants Eppinger, Roberts, Escarra before her departure,

and non-defendant director Jessica Blume) through the Company’s Audit Committee Charter.

       36.       The Audit Committee is responsible for assisting the Board in overseeing: (i) the

integrity of the Company’s financial statements; (ii) the Company’s compliance with legal and

regulatory requirements; (iii) the qualifications and independence of the Company’s independent

auditor; (iv) the performance of the Company’s internal audit function and independent

registered public accountant; and (v) the preparation of the audit committee report as required by

the SEC to be included in the Company’s annual proxy statement. In connection with these

duties, the Audit Committee Charter charges the Audit Committee with the following pertinent

authorities and responsibilities:

       Audited Financial Statements

             7. Review and Discussion. The Audit Committee shall meet to review and
                discuss with the Company’s management and independent registered
                public accountant the Company’s audited financial statements, including
                reviewing the Company’s specific disclosures under “Management’s


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          Discussion and Analysis of Financial Condition and Results of
          Operations,” and the matters about which Statement on Auditing
          Standards No. 61 (Codification of Statements on Auditing Standards, AU
          §380) requires discussion.

       8. Recommendation to Board Regarding Financial Statements. The Audit
          Committee shall consider whether it will recommend to the Board of
          Directors that the Company’s audited financial statements be included in
          the Company’s Annual Report on Form 10-K.

       9. Audit Committee Report. The Audit Committee shall prepare an annual
          committee report for inclusion where necessary in the proxy statement of
          the Company relating to its annual meeting of security holders.

    Review of Other Financial Disclosures

       10. Independent Registered Public Accountant Review of Interim Financial
           Statements. The Audit Committee shall direct the independent registered
           public accountant to use its best efforts to perform all reviews of interim
           financial information prior to disclosure by the Company of such
           information and to discuss promptly with the Audit Committee and the
           Chief Financial Officer any matters identified in connection with the
           independent registered public accountant’s review of interim financial
           information which are required to be discussed by applicable auditing
           standards. The Audit Committee shall direct management to advise the
           Audit Committee in the event that the Company proposes to disclose
           interim financial information prior to completion of the independent
           registered public accountant’s review of interim financial information.

       11. Earnings Release and Other Financial Information. The Audit Committee
           shall discuss generally the type and presentation of information to be
           disclosed in the Company’s earnings press releases, as well as financial
           information and earnings guidance provided to analysts, rating agencies
           and others.

       12. Quarterly Financial Statements. The Audit Committee shall meet to
           review and discuss with the Company’s management and independent
           registered public accountant the Company’s quarterly financial statements,
           including reviewing the Company’s specific disclosures under
           “Management’s Discussion and Analysis of Financial Condition and
           Results of Operations.”

    Controls and Procedures

       13. Oversight. The Audit Committee shall coordinate the Board of Directors’
           oversight of the Company’s internal control over financial reporting,
           disclosure controls and procedures and code of business conduct and



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          ethics. The Audit Committee shall receive and review the reports of the
          CEO and CFO required by Rule 13a-14 of the Exchange Act.

       14. Oversight of Internal Audit Function

          a. Oversight. The Audit Committee shall coordinate the Board of
          Directors’ oversight of the performance of the Company’s internal audit
          function.

          b. Reporting Relationship. The Audit Committee shall review the
          reporting relationship of the internal audit function and periodically shall
          meet separately with the company’s internal audit executive.

          c. Plans, Budgets and Activities. The Audit Committee shall review for
          approval the internal audit function’s plan, budget and activities for the
          upcoming fiscal year.

          d. Review of Significant Deficiencies. The committee shall review the
          status of any existing or newly identified significant deficiencies in
          internal controls over financial reporting on a quarterly basis.

          e. Review of Compensation Plans. The Audit Committee shall
          periodically review the incentive compensation plans for the internal audit
          function for potential conflicts of interest that may inhibit that function
          from appropriately discharging it’s [sic] duties.

       15. Risk Management. The Audit Committee shall discuss the Company’s
           policies with respect to risk assessment and risk management, including
           guidelines and policies to govern the process by which the Company’s
           exposure to risk is handled.

       16. Hiring Policies. The Audit Committee shall establish policies regarding
           the hiring of employees or former employees of the Company’s
           independent registered public accountant.

       17. Procedures for Complaints. The Audit Committee shall establish
           procedures for (i) the receipt, retention and treatment of complaints
           received by the Company regarding accounting, internal accounting
           controls or auditing matters; and (ii) the confidential, anonymous
           submission by employees of the Company of concerns regarding
           questionable accounting or auditing matters.

       18. Evaluation of Financial Management. The Audit Committee shall
           coordinate with the Compensation Committee the evaluation of the
           Company’s financial management personnel.




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        C.     Reporting Requirements under Generally Accepted Accounting Principles
               and SEC Regulations

        37.    Under Generally Accepted Accounting Principles (“GAAP”), public companies

must record and report financial information, including information about business combinations

and financial results, according to certain standards and procedures in order to ensure clarity in

financial information brought to the market.           The Financial Accounting Standard Board

(“FASB”) has codified specific GAAP provisions for business combinations, which Centene was

required to follow, codified at Accounting Standards Codification (“ASC”) 805. ASC 805

requires that provisional disclosures for a business combination (referred to as the “measurement

period”) last for only a limited time, after which time the fair value of a transaction must be

determined and disclosed.     Guidance on fair value measurement and disclosure is in turn

provided at ASC 820, and is designed to ensure that market-based, rather than entity-specific,

measurement is used.

        38.    In addition to GAAP standards, Centene and other public companies are subject

to Regulation S-X promulgated by the SEC. Regulation S-X requires that financial statements

prepared and submitted to the SEC must be prepared in accordance with GAAP or they will be

presumed to be misleading or inaccurate, and that further information must be provided to make

the financial information provided not misleading in light of the circumstance in which they were

made.

        39.    Further, SEC Regulation S-K, Item 303(b), codified at 17 C.F.R. §229.303,

requires public companies, including Centene, to disclose in their management discussions and

analyses any known trends or uncertainties that management would reasonably expect to have a

material favorable or unfavorable impact on net sales or revenues or income from continuing

operations. Regulation S-K explicitly requires that any material change in the relationship



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between costs and revenues (such as a known future increase in costs of labor, or materials, or

price increases) be disclosed.

       40.       The Individual Defendants were aware of these requirements as a result of the due

diligence they conducted before the Merger, due to the use of financial and legal experts in

connection with the Merger, including Allen & Co., Evercore and Skadden, and as a result of the

ongoing financial presentations provided during the integration process and post-Merger.

V.     HISTORY OF HEALTH NET, CENTENE’S ACQUISITION OF HEALTH NET,
       AND CENTENE’S PUBLIC STATEMENTS REGARDING THE ACQUISITION

       A.        Health Net Before Its Merger with Centene

       41.       Before being bought by Centene, Health Net sold health insurance policies to

individuals, families, and businesses. As of December 31, 2015, Health Net provided and

administered health benefits to approximately 6.1 million individuals in the United States.

Health Net offered behavioral health, substance abuse and employee assistance programs, as well

as plans for the provision of prescription drugs. Health Net’s business was largely concentrated

in California.

       42.       As of 2014, the Affordable Care Act (“ACA”) imposed “essential health benefit”

requirements on health insurance policies, including those sold by Health Net. By calendar year

2014, most individual and small group health insurance plans, as well as Medicaid benefit plans,

were required to cover “essential health benefits,” including mental health and substance abuse

services. Substance abuse benefits were one of 10 categories of benefits as defined under the

new law. See 42 U.S.C. §18022.

       43.       In 2014 and 2015, Health Net experienced dramatic increases in claims for

substance abuse-related treatments on its EPO (“exclusive provider organization”) and PPO

(“preferred provider organization”) individual health insurance policies in California (the



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“California Policies”). In 2014, Health Net earned $232 million in premiums on the California

Policies, but incurred approximately $352 million in claims on those policies – a loss of $120

million. In 2015, Health Net earned $189 million in premiums, but incurred over $475 million in

claims – a loss of $286 million.

        44.     Further, in connection with an application to California for rate plan modifications

in May 2016, Health Net stated that, “spending for drug testing and substance abuse facilities

[for Health Net] PPO plans saw a 6,359 percent increase year-over-year from 2013 to 2014 (with

2014 reflecting the first year of full ACA market reform implementation), and a 2,674 percent

increase in year-over-year spending from 2014 to 2015.” According to the below analysis from

the Securities Action, Health Net’s elevated recorded substance abuse claims on its California

Policies were consistently high throughout 2015:

                          Medical Claims (non-     Substance    Abuse       Pharmacy Claims
                          Substance Abuse)         Claims
Month         Members     Paid       Yr over       Paid      Yr over        Paid         Yr over
                                     Yr Paid                 Yr Paid                     Yr Paid
                                     Trend                   Trend                       Trend
Jan-15        35,653      554.19     19.3%         102.75    777.4%         83.04        116.0%
Feb-15        35,927      508.01     9.7%          156.75    1089.4%        81.51        90.5%
Mar-15        38,239      559.37     20.9%         314.81    1400.3%        87.32        81.3%
Apr-15        37,546      502.14     16.5%         291.79    1500.5%        96.67        62.8%
May-15        37,214      515.94     17.6%         270.38    1219.0%        94.02        64.2%
Jun-15        37,004      540.70     14.0%         280.03    1180.8%        106.01       70.7%
Jul-15        36,912      509.75     10.5%         389.75    1532.1%        116.58       85.4%
Aug-15        36,929      469.44     3.1%          463.59    2113.8%        108.74       82.8%
Sep-15        36,810      545.60     21.9%         626.69    2471.4%        108.93       71.3%
Oct-15        36,508      593.12     30.4%         1,003.15 2785.1%         107.49       47.9%
Nov-15        36,548      521.78     28.0%         935.35    1644.5%        103.60       48.4%
Dec-15        36,188      532.99     12.3%         826.04    1345.9%        118.15       35.1%
CY 2014       638,521     452.14                   28.09                    62.33
CY 2015       441,478     529.38      17.1%        471.12       1577.4%     101.01       62.1%

During this same period, Health Net also incurred dramatically increasing substance abuse-

related claims on its health insurance policies in Arizona.



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       B.      Centene Conducts Due Diligence of Health Net Beginning June 2015

       45.     Centene and Health Net began discussing a potential business combination in

November 2014. In November 2014, Defendant Neidorff contacted Health Net’s CEO, Jay

Gellert (“Gellert”), to discuss the “complementary aspects of their respective businesses,”

according to Centene’s Form S-4 Joint Proxy Statement/Prospectus filed with the SEC on

August 19, 2015 (the “Proxy”). Neidorff and Gellert continued their dialogue, and on March 2,

2015, they and other high-level executives at both companies met in St. Louis to discuss their

respective businesses.

       46.     Between March 2015 and the end of May 2015, Defendant Neidorff spoke to

Gellert several times by telephone. On June 8, 2015, Neidorff, Gellert, and other representatives

from the companies held a meeting. Neidorff informed the Health Net representatives that

Centene was interested in pursuing a merger agreement.

       47.     On June 13, 2015, the Health Net board met telephonically. Gellert informed the

Health Net board that Centene had expressed interest in beginning due diligence beginning June

15, 2015 to evaluate Health Net’s business and a potential business combination. The Health

Net board authorized the commencement of due diligence. On June 15, 2015, Health Net and

Centene exchanged non-disclosure agreements, and on June 16, 2015, such agreements were

executed and due diligence commenced.

       48.     On June 16, 2015, the Centene Board met telephonically and received a

presentation from Defendant Neidorff. Neidorff noted that Centene had commenced in-person

due diligence meetings at Health Net’s corporate headquarters that day.

       49.     Neidorff also informed the Board on June 16, 2015 that Centene had engaged

McKinsey & Company (“McKinsey”), Evercore Group LLC (“Evercore”), and Allen &

Company LLC (“Allen & Co.”) as advisors regarding financial and business considerations, and


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that Centene’s management and representatives from these firms participated in the extensive

due diligence. During the merger negotiations, Evercore and Allen & Co. provided to Centene

executives a business and financial analysis of Health Net and an analysis of the potential pro

forma financial impact of the proposed transaction on Centene. Significantly, and as discussed

infra ¶¶55-58, both Evercore and Allen & Co. qualified their opinions by noting that the Board

had specifically instructed and given its consent for these firms to use financial forecasts,

estimates, and other data directly from Centene management, and specifically that Centene had

made certain “adjustments” to the data relating to Health Net. As a result, neither firm gave an

opinion on the accuracy or credibility of such data.

       50.     On June 23, 2015, the Board met in person at Centene’s corporate headquarters.

Neidorff updated the Board on his personal discussions with Gellert, as well as other discussions

between Centene and Health Net regarding the due diligence and other financial considerations

underlying the transaction. As Centene’s Proxy describes:

       The Centene Board then reviewed the key tasks completed on the potential
       transaction with Health Net during the week ended June 21 and discussed the
       ongoing due diligence process and findings then to date regarding synergies
       and financial, operational and legal matters concerning different aspects of
       Health Net’s various businesses. The Centene Board then discussed the review
       conducted of Health Net’s projections, the work performed by McKinsey, and a
       detailed analysis of Health Net’s technology and IT and the current and pending
       contracts with Cognizant. The Centene Board further discussed, among other
       things, Health Net’s government contracts business, Health Net’s management
       and regional leadership, Health Net’s projections, regulatory considerations
       concerning a potential transaction, and the potential impact on Health Net’s
       business and operations of the pending decision of the U.S. Supreme Court in
       King v. Burwell regarding the ACA.

       Centene’s financial advisors then discussed with the Centene Board a business
       and financial overview of Health Net and the potential pro forma financial
       impact of the proposed transaction on Centene based on Centene
       management’s preliminary synergy estimates and, in the case of Health Net, the
       adjusted Health Net case, as well as a preliminary overview of implied
       transaction metrics at various illustrative purchase prices. Centene’s financial



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       advisors also discussed an overview of the proposed consideration, consisting of a
       mix of stock and cash, and potential financing plans for the proposed transaction.

[Emphasis added].

       51.    On June 23, 2015, the same day that the Board met in person at Centene’s

corporate headquarters, high-level Health Net executives also came to Centene’s corporate

headquarters to attend due diligence meetings. During this time, Defendant Neidorff and Gellert

continued to discuss the transaction.    The companies continued their due diligence with

conference calls and by exchanging documents through July 1, 2015.

       52.    On June 30, 2015, the Board had an in-person meeting in St. Louis wherein

attorneys from Skadden, Arps, Slate, Meagher & Flom LLP (“Skadden”) reviewed “process

considerations,” and federal antitrust and state regulatory considerations.       According to

Centene’s Proxy:

       Mr. Neidorff provided an update on the potential transaction with Health Net and
       discussions with Health Net, including a summary of meetings and
       communications with Mr. Gellert and other discussions between the two
       companies and their respective representatives. In addition, Mr. Neidorff and
       representatives of Skadden discussed the status of negotiations with Health Net on
       certain material terms of the potential transaction, including with respect to
       Centene’s obligations to obtain requisite regulatory approvals, the circumstances
       and amount of potential termination fees and the status of the contemplated
       financing plans related to the potential transaction. The Centene Board also
       reviewed the strategic rationale for the potential transaction.

       Members of Centene’s management then discussed strategic considerations in
       proceeding with the potential transaction and reviewed the status of Centene’s
       due diligence review.            Centene’s management further discussed
       PricewaterhouseCoopers’ review of Health Net’s public financial statements,
       tax papers and quality of earnings analysis, as well as IT and HR related
       matters. The Centene Board and Centene’s management, together with Centene’s
       advisors, continued to discuss potential synergies arising from the potential
       transaction and the likelihood of Centene achieving such synergies.

       The Centene Board then reviewed the terms of the contemplated financing for the
       potential transaction and the terms of the current draft of Centene’s commitment
       letter.



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      Mr. Neidorff noted that a request had been made by Health Net to add current
      members of the Health Net Board to the Centene Board following completion of a
      potential transaction with Health Net and that Centene had proposed one board
      seat to Health Net as part of the negotiations. The directors discussed the
      possibility of expanding the existing Centene Board. Following this discussion,
      representatives of Skadden reviewed with the Centene Board the fiduciary duties
      of the directors under Delaware law.

      Representatives of Skadden then reviewed written materials describing the merger
      agreement. Among other things, Skadden discussed the potential tax-free
      treatment of the equity portion of the consideration payable to Health Net
      stockholders; the fact that Health Net stockholders would be entitled to appraisal
      rights in connection with the potential transaction; the contemplated treatment of
      existing Health Net equity awards; the conditions to closing; the nature of and
      obligations regarding financing; deal protection provisions, including, among
      others, limitations included in the merger agreement on the ability (subject to
      certain exceptions) of each of Centene and Health Net to solicit competing
      acquisition proposals or change its recommendation to their respective
      stockholders with respect to the potential transaction, the circumstances under
      which the merger agreement may be terminated by either party and the related
      termination fee amounts; and the obligations of each party to obtain required
      regulatory approvals; and the proposed voting agreements from the chief
      executive officer of each party.

      Centene’s financial advisors then reviewed with the Centene Board financial
      aspects of the potential transaction, including, without limitation, a summary of
      financial terms of the potential transaction and implied equity and enterprise
      values for Health Net based on the proposed purchase price, as well as implied
      purchase price multiples and premiums. During the course of these discussions,
      Centene’s financial advisors also summarized Centene’s and Health Net’s
      historical relative stock price performance, provided an overview of selected
      companies and selected precedent transactions in the managed care industry,
      implied premiums paid in selected transactions and the discounted cash flows of
      Health Net and Centene based on the adjusted Health Net case and the Centene
      management forecast, respectively. The Centene Board additionally discussed
      with Centene’s management and its financial advisors potential synergies related
      to the potential transaction. After further discussion, the Centene Board
      instructed Centene’s management to continue negotiations of the proposed price
      and other terms of a transaction with Health Net.

[Emphasis added].

      C.     The Board Unanimously Approves the Transaction on July 1, 2015

      53.    On the evening of July 1, 2015, the Centene Board met to discuss and evaluate the

Merger. At the July 1, 2015 meeting, the Board unanimously approved the merger agreement


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and underlying transactions. The Company’s Proxy expressly states that the Board considered

the following pertinent factors in making its determination:

           •   The review of Centene’s and Health Net’s business, strategy, current
               and projected financial condition, current earnings and earnings
               prospects, and the current and prospective regulatory environment;

           •   The combination of Health Net and Centene would maintain and enhance
               Health Net’s strong commercial business in California, which could also
               serve as a model for other states in which similar opportunities can be
               identified;

           •   Both Centene and Health Net were leading companies in responding to the
               ACA and building low cost, high quality solutions for the future and,
               although they have common business liens and focus on the ACA, there is
               little overlap in their service areas, allowing for the opportunity to expand
               the reach of their low cost, high quality solutions by geography and
               product line;

           •   A review of the potential strategic and financial benefits associated with
               the transaction, including…[t]he addition of incremental scale in the
               western United States, including through Health Net’s complementary
               network, which Centene believes will provide it with a stronger presence
               to compete more effectively in the Medi-Cal market and other Mediacaid
               and Medicare markets, including in Arizona, Oregon and Washington;

           •   Greater participation in California’s dual eligible demonstration
               program given Health Net’s leading share in this market; [and]

           •   The fact that Centene’s management team and legal and financial
               advisors were involved throughout the negotiations and updated the
               Centene Board which provided additional perspectives on the
               negotiations.

[Emphasis added]. The Proxy likewise listed the following potential risks as factors that the

Board specifically reviewed in making its determination:

           •   Certain risks inherent in Health Net’s business and operations, including
               those identified in Health Net’s SEC filings;

           •   The general risks of market conditions that could affect the price of
               Centene and Health Net common stock, as well as the other risks and
               uncertainties discussed in Health Net’s public filings with the SEC; [and]




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             •   The fact that certain senior executives of Health Net would receive
                 substantial payments in connection with the merger, and that Health Net
                 may also be obligated to make gross-up payments to those executives for
                 the amount of certain taxes resulting from some of these payments.

       54.       Representatives from Skadden updated the Board on negotiations with Health Net

and reviewed the terms of the draft merger agreement. The Board received a copy of the draft,

along with a summary of material terms.

       55.       At this meeting, Allen & Co. presented to the Board on the Merger and provided a

written opinion regarding the fairness of the Merger. Information about the July 1, 2015 Allen &

Co. opinion reviewed by the Board was attached and incorporated by reference into Centene’s

Proxy Statement. Allen & Co. stated that it had, inter alia:

             •   reviewed the financial terms and conditions of the merger as reflected in a
                 draft, dated July 1, 2015, of the merger agreement;

             •   reviewed certain publicly available historical business and financial
                 information relating to Centene and Health Net, including public filings of
                 Centene and Health Net, and historical market prices and trading volumes
                 for Centene common stock and Health Net common stock;

             •   reviewed certain financial information relating to Centene and Health Net,
                 including certain internal financial forecasts, estimates and other financial
                 and operating data of Centene and Health Net provided to or discussed
                 with Allen & Company by the respective managements of Centene and
                 Health Net (as adjusted, in the case of the Health Net forecasts, estimates
                 and other financial and operating data, by the management of Centene);
                 and

             •   held discussions with the managements of Centene and Health Net relating
                 to the past and current operations and financial condition and prospects of
                 Centene and Health Net.

[Emphasis added].

       56.       Allen & Co., in a July 1, 2015 letter to the Board delivered in connection with its

opinion on the Merger, also stated the following regarding the limitations of its opinion:

       Our opinion as expressed herein reflects and gives effect to our general familiarity
       with Centene as well as information which we received during the course of this


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    assignment, including information provided by the managements of Centene and
    Health Net in the course of discussions relating to the Transaction as more fully
    described below. In arriving at our opinion, we neither conducted a physical
    inspection of the properties or facilities of Centene, Health Net or any other entity
    nor made or obtained any evaluations or appraisals of the assets or liabilities
    (contingent, off-balance sheet or otherwise) of Centene, Health Net or any other
    entity, or conducted any analysis concerning the solvency or fair value of
    Centene, Health Net or any other entity. We are not actuaries and our services
    did not include any actuarial determination or evaluation by us, any attempt to
    evaluate actuarial assumptions or allowances for losses with respect thereto or
    any analysis of the adequacy of reserves for losses or other matter and,
    accordingly, we have assumed that each of Centene and Health Net has, and
    the pro forma combined company will have, adequate reserves for losses and
    other matters.

                                           ***

    In rendering our opinion, we have relied upon and assumed, with your consent
    and without independent verification, the accuracy and completeness of all of
    the financial, legal, regulatory, tax, accounting and other information available
    to us from public sources, provided to or discussed with us by Centene and
    Health Net or their respective representatives or otherwise reviewed by us. With
    respect to the financial forecasts, estimates and other information and data
    relating to Centene and the potential cost savings anticipated by the
    management of Centene to result from the Transaction that were directed to
    utilize in our analyses, we have been advised by the management of Centene
    and we have assumed, with your consent, that such forecasts, estimates and
    other financial and operating data have been reasonably prepared in good faith
    reflecting the best currently available estimates and judgments of such
    management as to the future financial and operating performance of Centene,
    such cost savings and the other matters covered thereby. With respect to the
    financial forecasts, estimates and other information and data (as adjusted by the
    management of Centene) relating to Health Net that we were directed to utilize in
    our analyses, we have been advised by the managements of Health Net and
    Centene and we have assumed, with your consent, that such forecasts, estimates
    and other financial and operating data have been reasonably prepared in good
    faith reflecting the best currently available estimates and judgments of such
    managements, as the case may be, as to the future financial and operating
    performance of Health Net and the other matters covered thereby. We assume no
    responsibility for and express no view or opinion as to any such financial
    forecasts, estimates and other financial and operating data or the assumptions on
    which they are based. We have relied, at your direction, upon the assessments of
    the managements of Centene and Health Net as to among other things, (i) the
    potential impact on Centene and Health Net of certain market and other trends in
    and prospects for, and governmental, regulatory and legislative policies and
    matters relating to or affecting, the managed care and specialty services sectors of
    the healthcare industry, including with respect to government subsidized


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       healthcare programs and reimbursement, (ii) existing and future relationships,
       agreements and arrangements with, and the ability to attract and retain, key
       employees and commercial relationships with hospitals, physicians and other
       healthcare providers, (iii) the technology and intellectual property of Centene and
       Health Net and (iv) the ability to integrate the business of Centene and Health
       Net. We have assumed, with your consent, that there will be no developments
       with respect to any such matters that would have an adverse effect on Centene,
       Health Net or the Transaction (including the contemplated benefits thereof) or
       that otherwise would be meaningful in any respect to our analyses or opinion.

                                               ***

       Our opinion is limited to the fairness, from a financial point of view and as of the
       date hereof, to Centene of the Merger Consideration . . . .

[Emphasis added].

       57.       Evercore also presented to Centene’s Board at the July 1, 2015 meeting. The

Board received an oral presentation from Evercore, as well as a written opinion. Information

about the Evercore opinion was also attached and incorporated by reference into Centene’s

Proxy Statement. Evercore stated that it had, inter alia:

             •   reviewed the Centene management forecast, the Health Net management forecast,
                 the adjusted Health Net case and the pro forma combined company forecast [];

             •   discussed the past and current operations, financial projections and current
                 financial condition of each of Centene and Health Net with their respective
                 managements; and

             •   considered the potential pro forma impact of the merger on Centene, based on
                 inputs and analysis provided by Centene management.

[Emphasis added].

       58.       Evercore also submitted a July 1, 2015 letter to the Board in connection with its

opinion on the merger stating the following limitations regarding its opinion:

       For purposes of our analysis and opinion, we have assumed and relied upon,
       without undertaking any independent verification of, the accuracy and
       completeness of all of the information publicly available, and all of the
       information supplied or otherwise made available to, discussed with, or reviewed
       by us, and we assume no liability therefor. With respect to the projected
       financial data relating to Centene and Health Net referred to above, we have


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       assumed that they have been reasonably prepared on bases reflecting the best
       currently available estimates and good faith judgments of the respective
       managements of Centene and Health Net as to the future financial
       performance of the companies under the assumptions reflected therein. We
       express no view as to any projected financial data relating to Centene or Health
       Net or the assumptions on which they are based. We have relied, at your
       direction, without independent verification, upon the assessments of the
       management of Centene as to the Estimated Synergies.

                                             ***

       We have not made nor assumed any responsibility for making any independent
       valuation or appraisal of the assets or liabilities of Centene or Health Net, nor
       have we been furnished with any such appraisals, nor have we evaluated the
       solvency or fair value of Centene or Health Net under any state or federal laws
       relating to bankruptcy, insolvency or similar matters. Our opinion is necessarily
       based upon information made available to us as of the date hereof and financial,
       economic, market and other conditions as they exist and as can be evaluated on
       the date hereof. It is understood that subsequent developments may affect this
       opinion and that we do not have any obligation to update, revise or reaffirm this
       opinion.

       We have not been asked to pass upon, and express no opinion with respect to, any
       matter other than the fairness, from a financial point of view, of the Merger
       Consideration to Centene.

[Emphasis added].

       D.     Centene Publically Announces the Merger and, at the Board’s Instruction,
              Files False and Misleading Statements in the Proxy

       59.    Centene and Health Net entered into an agreement and plan of merger on July 2,

2015 (the “Merger”). Before the market opened on July 2, 2015, Centene and Health Net jointly

announced that the boards of both companies had unanimously approved the Merger and that

Centene would acquire Health Net for an estimated total transaction value of approximately $6.8

billion. The release stated that Centene’s consideration for Health Net would be $78.57 per

share, a premium of approximately 21% over Health Net’s closing stock price on July 1, 2015,

and of 26% on June 1, 2015. Neidorff justified the value of the Merger in the press release by

stating: “Health Net’s presence in California and other key western states is complementary to




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our offerings, allowing us to bring additional innovative solutions to the healthcare market.” The

release also listed as a “strategic benefit” that “[t]he transaction will provide Centene with access

to California’s dual demonstration program and expansion in other Medicaid and Medicare

programs in the Western United States, including Arizona, Oregon and Washington.”

       60.     At 8:30 a.m. on July 2, 2015, Centene and Health Net held a conference call to

discuss the Merger. On the call, Neidorff stated, “we know Health Net well and we respect their

team and their accomplishments.” Neidorff justified the Merger by stating that “[i]mportantly,

combining with Health Net is expected to increase and enhance our presence in the California

Medicaid Program . . . .”

       61.     Centene continued to emphasize that Health Net’s business in California was

central to their purpose in acquiring the company.         On July 14, 2015, Centene posted a

PowerPoint presentation on its website which was also filed with the SEC and which listed

Health Net’s “deeper penetration in California” as the first “growth driver[]” of the Merger. The

presentation further stated that the Merger was expected to be “greater than 20% accretive to

Adjusted EPS in first full year.” The Company repeated these statements on July 15, 2015,

September 9, 2015, and November 10, 2015.

       62.




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       63.     On August 19, 2015, Centene filed the Proxy with the SEC, including a joint

proxy statement and prospectus regarding the proposed merger. The Proxy was signed by

Director Defendants Neidorff, Ayala, Ditmore, Eppinger, Gephardt, Roberts, Steward,

Thompson, and Executive Defendant Schwaneke. The Proxy listed the Board’s stated reasons

for unanimously approving the Merger (discussed more fully infra ¶126), including that the

Merger “would maintain and enhance Health Net’s strong commercial business in California,

which could also serve as a model for other states in which similar opportunities can be

identified.” The Proxy stated that “Centene’s management team and legal and financial advisors

were involved throughout the negotiations and updated the Centene Board which provided

additional perspectives on the negotiations,” supporting the Board’s decision to unanimously

approve the Merger.

       64.     In addition to the false and misleading statements in the Proxy itself, the

Individual Defendants incorporated by reference Health Net’s Form 10-K Annual Reports for

each year of the five-year period ended December 31, 2014, and Health Net’s Form 10-Q

Quarterly Report for the quarter ended June 30, 2015. This incorporation was further misleading

in that it failed to disclose the material trends that made Health Net’s California and Arizona

business less profitable, and additionally failed to disclose the increasing liabilities Health Net

incurred on those plans but refused to pay to substance abuse facilities.

VI.    HEALTH  NET   AND   CENTENE     INTEGRATE                             AND      CENTENE
       UNDERREPORTS HEALTH NET’S LIABILITIES

       A.      Health Net Continues to Experience Rising Claims in California and Arizona
               and Stops Payments to Substance Abuse Facilities

       65.     In the second half of 2015, Health Net began systematic efforts to reduce its

payments for submitted substance abuse-related claims in California and Arizona. In or around

November 2015, Health Net’s payments to substance abuse treatment centers became sporadic.


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By January 2016, Health Net had instituted a special investigation unit (“SIU”) “audit” that

involved all or substantially all drug and alcohol treatment centers in California that submitted

claims to Health Net. As part of the SIU “audit,” Health Net ceased reimbursing most, if not all,

of these drug and alcohol treatment centers for treatments rendered after January 15, 2016.

Leading up to the March 24, 2016 merger date, Defendants were well aware of the “audit,”

which was reported in industry press at the time and is currently the subject of litigation in courts

in California and Arizona. Third-party payers whom Health Net refused to pay during the

“audit” have sued Centene to recover for the unpaid claims.

       66.     In conjunction with Health Net’s cessation of payments, Health Net sent the drug

and alcohol treatment facilities form letters from the Health Net Director of SIU, Matthew

Ciganek. The form letters imposed onerous burdens on the drug and alcohol treatment centers

while suspending payments. One such letter purportedly sent to a substance abuse treatment

provider, made available on industry reporting site Modern Healthcare, is attached hereto as

Exhibit A. Among other things, the form letters (i) failed to identify any specific misconduct by

treatment centers, yet mentioned Health Net’s “right to institute legal proceedings” and “seek

appropriate sanctions from the court”; (ii) requested extensive and unusual amounts of

documentation in a short time frame, including “all documents” related to various categories of

documents within fifteen days of the facility receiving the letter; (iii) were followed by numerous

duplicate letters requesting copies of the treatment centers’ licenses and other information, at

times even after such information had already been provided to Health Net; and (iv) imposed

substantial costs of compliance in terms of administrative burden and delivery costs: among

other things, failing to provide street addresses for delivery and initially refusing to receive any

of the requested records electronically.




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       67.     The SIU “audit” and Health Net’s delayed payments for substance abuse-related

claims extended for months in late 2015 and early 2016.          During and after this time, the

treatment centers refused to accept Health Net patients, driving down Health Net’s incurred

claims. Health Net also unilaterally changed treatment codes billed by medical professionals in

order to lower costs, even though Health Net policies did not permit such unilateral changes. In

or about May 2016, Health Net began to remit payment on overdue reimbursements. The

payments, however, were frequently incorrect and insufficient.

       68.     In May 2016, the CEOs and owners of a group of California treatment facilities

sent California Department of Insurance (“CDI”) Commissioner Dave Jones a letter informing

him of the “inappropriate dragnet audit of California substance abuse treatment facilities by

Health Net” (attached hereto as Exhibit B). Individual facilities that had previously filed formal

complaints with the CDI reported receiving cease and desist letters from Health Net, prompting

the concerted effort.

       69.     The joint letter alerted the Commissioner that Health Net’s “dragnet audit”

applied to “essentially every [California] facility,” and was retroactive in the sense that it

requested documentation for treatment already completed, amounting to a clawback of

reimbursements already provided. In addition, at least one treatment facility reported receiving

payment from Health Net in the form of a check, only to later discover that Health Net had

placed a stop payment on the funds. And even for facilities who received payments on claims,

“[i]nstead of paying 75% of billed after all co-insurance has been met, Health Net is now paying

pennies on the dollar.” The treatment centers reported to the California Department of Insurance

that they would be unable to accept future Health Net policyholders unless Health Net

reimbursed them for claims. Treatment centers in Arizona reported similar complaints to the




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Arizona Department of Insurance, stating that Health Net had also failed to reimburse those

treatment centers.

       70.     On May 31, 2016, the CDI announced that it had begun an inquiry into whether

Health Net had failed to properly submit payment for insurance claims to over 118 addiction

treatment centers in California and Arizona. On June 23, 2017, the CDI issued an order to show

cause regarding the complaints it had received from the substance abuse treatment centers over

the delayed, denied, or attempted clawback payments. CDI stated that Health Net had engaged

in unfair or deceptive business practices by failing to settle provider claims in good faith, even

where its liability was reasonably clear, and that CDI would subject the company to a $10,000

penalty for each violation.

       71.     The SIU “audit” thus provided Health Net a means to artificially and temporarily

drive down the actual costs of its poorly designed substance abuse policies.

       B.      Centene and Health Net Continue to Integrate in Fall 2015, and Shareholders
               Approve the Merger Based on the Company’s False and Misleading
               Statements

       72.     While Health Net systematically restricted its payments to substance abuse

facilities, Centene stated that it was making progress on its integration of the Health Net and

Centene businesses. On September 9, 2015, Centene presented at the Wells Fargo Healthcare

Conference in Boston, Massachusetts. During the presentation, Defendant Neidorff stated that

Centene was “look[ing] at some of the upside” of the merger “as we go through the integration,

and that’s going incredibly well – working very well.” Neidorff stated that “Health Net will give

us great penetration in California,” that Health Net would contribute to Centene’s growth in the

short term, and that “I said at the time we did this deal, we have good visibility into 2016, we

have pretty good visibility into 2017.”       Neidorff reiterated that, regarding Health Net’s

financials, “we have good visibility on 2016.”


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          73.   On September 21, 2015 Centene filed its definitive proxy statement for the special

meeting of shareholders to vote on the Health Net merger. On October 23, 2015, Centene’s

shareholders voted to approve the merger based on the false and misleading information

contained in the Proxy.

          74.   On October 27, 2015, during a quarterly investor conference call, Defendant

Neidorff reassured Centene investors regarding the integration with Health Net. Responding to a

question from analyst Michael Baker of Raymond James & Associates, Inc. regarding “who’s

heading up the integration effort,” Neidorff responded that “Cindy Brinkley [Centene’s

Executive Vice President of International Operations and Business Integration] is heading up the

integration,” “the Health Net people are fully engaged in participating,” and “speaking on behalf

of the whole management team, the Board, we are very pleased with the progress at how it’s

going.”

          75.




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[Emphasis added].

       79.     Despite this rosy outlook,




       80.     On December 18, 2015, Centene held an investor conference call regarding the

Company’s financial guidance for 2016.           During the call, Cindy Brinkley stated that, in

anticipation of the merger closing in February 2016, the Company “embarked upon a very, very

robust planning process,” and that “we are making significant progress on our integration plans

and where we are with the entire transaction.”

       81.     During the December 18, 2015 conference call, Brinkley further noted that

Centene was at the time working with the California regulators regarding the Merger and that

Centene would have a hearing with the California regulators on January 22, 2016. Brinkley

stated that Centene was in the process of “realizing the growth opportunities and putting the

company together.”

       D.      The California Department of Insurance Questions Centene on the
               Consequences of Health Net Leaving the Individual Market in California

       82.     On January 22, 2016, CDI held a six-hour-long public hearing about the Merger,

with testimony from Centene executives, including Defendant Schwaneke, consumer advocates

and the public. At the hearing, Centene executives emphasized Centene’s small presence in

California, and the fact that Health Net would grant Centene access to the California commercial

insurance market. The General Counsel for CDI, John Finston, asked Defendant Schwaneke

about the impact the Merger would have on Centene’s debt and whether Health Net’s operating



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levels in California would be changed as a result of the debt. Schwaneke answered that “we

would expect to maintain the same or similar level of composition Health Net Life Insurance

Company has had in the past, and we would look to continue whatever their history or the

California practices were,” and that “our intent is to maintain a similar level of capitalization as

Health Net Life Insurance has in the past.” CDI Commissioner Jones and General Counsel

Finston repeatedly asked Centene to make assurances and commitments to maintain Health Net’s

commercial business in California and to improve its consumer quality ratings, given Health

Net’s poor quality ratings in the state. Centene executives offered vague assurances throughout

the hearing, but no specific or enforceable guarantees were provided.

       83.




       84.     The Director Defendants knew through Centene’s due diligence that Health Net

had stopped payments on substance abuse-related claims, and that

                                          . The Director Defendants knew by




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regulatory approvals pending, we will not be able to provide additional details associated with

the 2016 guidance other than what is presented here today. Once all regulatory approvals have

been received and the transaction is closed, we will provide full details of our 2016 guidance.”

On January 11, 2016, Neidorff told investors during a JPMorgan Healthcare Conference that “the

closing is subject to regulatory approval. And until we receive the final approval, we’re going to

limit what information we provide to what we did at our Investor Day in terms of revenue and

earnings.”

       90.     As discussed supra ¶77, the Board saw




                                           . Yet, despite the fact that the Board unanimously

approved the Merger based on these false figures, the Board took no action to remedy the false

statements and Centene’s deliberate withholding of true Health Net revenue and earnings figures

as the regulatory approval process continued.

       91.     The ongoing approval requirements from regulators in California allowed

Centene to avoid reporting revenue as a consolidated company with Health Net. During a

Company conference call with investors on February 9, 2016, Defendant Schwaneke stated that

“one month of Health Net revenue is approximately $1.3 billion” and as “the transaction remains

subject to regulatory approval in California,” the “actual closing date of the Health Net

transaction will determine the number of months and days of Health Net results that will be

included in our consolidated financial statements for 2016.” As analysts at UBS noted, “[a] one-

month delay [in the merger] would impact 2016 revenue outlook by roughly $1.3 [billion].”




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       92.     In March 2016, Centene obtained regulatory approval to consummate the

transaction from the California Department of Managed Health Care (DMHC) and the California

Department of Insurance (CDI).       Morgan Stanley issued a report dated March 22, 2016

discussing the scrutiny that regulators were applying to the proposed merger:

       Both of California’s insurance regulators held hearings in December and January about
       the proposed CNC/HNT deal. However, Commissioner Dave Jones from CDI appeared
       to be more critical of the merger. According to California Healthline, Jones spent six
       hours in a hearing Jan. 22 grilling executives and industry experts on the proposed
       Centene-Health Net merger.

       93.     The Individual Defendants were further focused on Health Net’s California

insurance policies in the months leading up to the merger because the CDI subjected its merger

approval to a number of conditions regarding those policies. In a report dated March 22, 2016,

Morgan Stanley described ten conditions on CDI’s approval of the merger, including a

“commitment to growing [Health Net’s] commercial business in the state [of California]

including participation on the exchange.” In a report dated March 22, 2016, Sterne Agee noted

additional CDI requirements, including that Centene was required to “maintain and grow [Health

Net’s] commercial business in the state,” “provide sufficient provider networks,” “continue to

offer products on the California exchange,” “improve the quality of care to consumers,” and

“certify that no costs of the merger will be passed along to consumers.”

       94.     On March 24, 2016, Centene announced that it had completed its acquisition of

Health Net.

VII.   A SECURITIES CLASS ACTION IS FILED AGAINST THE COMPANY FOR
       MISREPRESENTATIONS MADE WITH RESPECT TO HEALTH NET

       A.      Misrepresentations Made in Centene’s April 2016 Form 10-Q

       95.     After the Merger was complete, Centene filed a Form 10-Q with the SEC on April

26, 2016 (the “April 2016 Form 10-Q”) that reported the purported value of the Health Net assets



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that Centene had acquired, and the Health Net liabilities that Centene had assumed in the Merger

(in millions):

             Assets acquired and liabilities assumed
             Cash and cash equivalents                           $            1,422
             Premium and related receivables                                  1,076
             Short term investments                                              40
             Other current assets                                               670
             Long term investments                                            1,965
             Restricted deposits                                                 36
             Property, software and equipment, net                               43
             Intangible assets                                                1,500
             Other long term assets                                             203
                 Total assets acquired                                        6,955

             Medical claims liability                                         1,370
             Borrowings under revolving credit facility                         285
             Accounts payable and accrued expenses                            1,928
             Return of premium payable                                          375
             Unearned revenue                                                   117
             Long term deferred tax liabilities                                 415
             Long term debt                                                     418
             Other long term liabilities                                        369
                Total liabilities assumed                                     5,277

                Total identifiable net assets                                 1,678
             Goodwill                                                         3,601
                Total assets acquired and liabilities assumed                 5,279


       96.




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       At this time, Centene does not have sufficient information as to the amount, timing and
       risk of cash flows of all of Health Net’s identifiable intangible assets to determine their
       fair value. Some of the more significant assumptions inherent in the development of
       intangible asset values, from the perspective of a market participant, include: the amount
       and timing of projected future cash flows (including revenue and profitability); the
       discount rate selected to measure the risks inherent in the future cash flows; and the
       assessment of the asset’s life cycle and the competitive trends impacting the asset.
       However, for purposes of these unaudited pro forma condensed combined financial
       statements and using publicly available information, such as historical revenues, Health
       Net’s cost structure, industry information for comparable intangible assets and certain
       other high-level assumptions, the fair value of Health Net’s identifiable intangible assets
       and their weighted-average useful lives have been estimated . . . .

       Once Centene has full access to information about Health Net’s intangible assets,
       additional insight will be gained . . . .

[Emphasis added]. These statements were omitted from Centene’s Form 10-Q dated April 26,

2016 under the pretense that Centene only now had obtained “sufficient information” and “full

access” to perform a Health Net valuation. However, Centene had performed its own pro-forma

“adjustments” for its auditors, Allen & Co. and Evercore, in evaluating the fairness of the

Merger, and directed them to use those numbers, as early as June 2015. Centene’s narrative that

it had only obtained “full access” to information regarding the value of Health Net’s liabilities

after Merger close on March 24, 2016 was false. Centene had this information, and shared this

information with the Director Defendants, during the pre-Merger due diligence process, and

throughout the entire integration process reported to the Board.

       B.      Misrepresentations Regarding the Adequacy of Health Net’s Reserves

       101.    On April 26, 2016, the same day that the Company reported the unaudited value

of Health Net (see supra section VII.A), Centene held a quarterly investor conference call.

During the call, Defendant Niedorff discussed the merger and stated that there were “no

surprises” during “the regulatory process in California.”          Analyst Matthew Borsch from

Goldman Sachs asked whether the “large book at Health Net [of] ACA exchange members[] – is

it profitable now? . . . And what level of profitability is that?” Centene’s EVP of Markets, Rone


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Baldwin, responded that “the exchange business at . . . Health Net has been profitable. The one

area of challenge with respect to the exchange business at Health Net has been Arizona.” By

contrast, Baldwin stated, for Health Net’s policies in “California, [Health Net] pursue[s] a

strategy . . . [t]hat has worked well for them.”

       102.    On May 24, 2016, Centene gave a presentation at the UBS Global Healthcare

Conference. In response to an analyst’s question regarding whether there had been any surprises

or challenges associated with the Merger, Neidorff responded that “I think it’s all been where we

expected, and it’s probably a little bit – it’s been fine. We officially closed on the 24th, but we

had nine months ahead of that, in round numbers, working on the integration as anyone

would do. So, the day that we closed, we were just implementing things we’ve been planning

for nine months.” Neidorff stated that “our mentality is you really start your integration when

you’re doing diligence even before you sign the contract. That’s when you’re learning things

about the Company. You should be thinking at that point what are we going to do if we

consummate this deal? And so that’s been going on for a year, and it’s come – if anything, I

think we’re ahead of schedule.” [Emphasis added].

       103.    During the May 24, 2016 presentation, analyst A.J. Rice from UBS asked whether

there were “any other things” that Centene had done “to bring [Health Net] . . . up to snuff in

[Centene’s] accounting and balance sheet?” Defendant Neidorff responded, “No, and we’ll talk

more about this . . . at our Investor Day coming up” on June 17, 2016, but assured shareholders

that “in reality, after about 60 days you have a significant development of reserves, in the 90s.

So everything we’re seeing says it’s fine.”

       104.    On June 17, 2016, Centene held an Investor Day attended by seven of Centene’s

executives, including Defendants Neidorff and Schwaneke. During the presentation, Defendant




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Neidorff stated that “Health Net is Centene’s California health plan” and presented a slide stating

that Centene had applied its “reserving methodologies to Health Net’s book of business.”

       105.    In providing an “update on the Health Net finance transaction,” Defendant

Schwaneke further stated that “[s]ince the acquisition we have faster visibility into financial

information” and that “[o]n a monthly basis[,] Centene’s finance team has been reviewing and

monitoring the medical claims reserves and development.”

       106.    During the Q&A portion of the Investor Day, Defendant Schwaneke was asked

about the Company’s visibility into claims on Health Net policies. Schwaneke stated that

roughly two months after a merger, an acquiring company has “paid 85% of the claims that you

ultimately think you’re going to pay,” so “two months out you have 85% of the claims already

paid and out the door . . . . In three months, it’s over 90%” so that “give[s] you a flavor for how

much information we had” regarding Health Net’s claims.

       107.    Analyst Dave Windley from Jefferies asked about Schwaneke’s statement that

there had been “no unfavorable development on the acquired Health Net medical reserves.” In

response, Schwaneke reassured investors that there was merely a “potential for adjustment,” but

that “we haven’t seen any unfavorable development” since the Company’s accounting for Health

Net provided on April 26, 2016. Analyst Christine Arnold from Cowen and Company again

asked about the Health Net insurance reserves, stating, “I’m sorry to beat up on it, but it’s

something that’s really on people’s minds. You said that the reserves, there was no negative

development, and is that related to both the first quarter and 2015? Or how did 2015 develop?”

Mark Brooks, Centene’s SVP and Chief Information Officer, responded that “That’s really just

the opening balance sheet so that’s as of the time of the transaction . . . . [T]he March 24

reserve balance includes all prior activity.” Brooks reassured investors again that “in total we




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haven’t seen any development on anything prior to [March] 24 [2016].” Adding to this point,

Defendant Neidorff stated, “[t]hat’s an important point that . . . the Health Net reserve issue stops

at March 24 . . . .” [Emphasis added].

        C.         The Truth Is Revealed Regarding Centene’s Misrepresentations, Prompting
                   the Filing of the Securities Action Against the Company

        108.       On July 26, 2016, Centene disclosed that the “fair value” of Health Net’s

liabilities was far higher than Centene had reported on April 26, 2016. In a Form 10-Q that the

Company filed with the SEC on July 26, 2016, Centene increased Health Net’s medical claims

liability reserves by approximately $90 million.          The Company stated during an investor

conference call held the same day that this increase was “really . . . for prior issues” that were “as

of March 24[, 2016]” and were “associated with disputed substance abuse treatment center

claims.” When analyst Chris Rigg from Susquehanna Financial Group asked whether “the $90

million is basically for the 27-ish month of really 2014, 2015 and about three months of 2016,”

Defendant Schwaneke confirmed that the $90 million increase in reserves as for “everything

prior to March 24[, 2016].” Centene further disclosed on July 26, 2016 that all of the $90

million in increased liabilities related to the substance abuse-related claims in California.

        109.       The Company also disclosed on July 26, 2016 that it had recognized additional

liabilities in the Health Net business of “approximately $300 million . . . based on costs trends

existing prior to the acquisition date.” [Emphasis added]. The Company filed a Form 8-K on

July 26, 2016 further explaining the composition of the $300 million in recognized liabilities and

admitting that Centene had already been taking corrective action to remedy the known, increased

liabilities:

               •   $125 million associated with the California commercial business, $50
                   million of which is associated with substance abuse treatment facilities.
                   We have filed for a combination of price increases and benefit design
                   changes including reductions in reimbursement for out of network


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                services. We are in the final stages of approval with the California
                Department of Insurance, which will be concluded by the end of the third
                quarter of 2016.

          •     $70 million associated with the Arizona individual commercial business.
                We will exit the entire individual PPO business, effective January 1, 2017.
                We are reducing our participation in the health insurance marketplace
                business to one county for 2017 and have taken significant rate actions.

          •     $70 million associated with the Medicare business. The 2017 bids have
                been submitted and should return the business to profitability in 2017.

          •     $15 million associated with the Arizona Medicaid business. We have
                fully transitioned this business to Centene’s operating platform as of July
                1, 2016, and we have taken appropriate actions to improve performance.

          •     $20 million of other smaller items including the Arizona small group and
                Oregon individual business. We have filed for rate increases and taken
                other appropriate actions to address these for 2017.

       110.     Centene’s massive July 26, 2016 accounting changes significantly impacted

Centene’s accounting for the Health Net assets acquired and liabilities assumed in the Merger.

Centene reported that Health Net’s medical claims liabilities were $92 million higher, its

accounts payable and accrued expenses were $102 million higher, its total liabilities were $211

million higher, and its net assets $245 million lower than Centene had reported on April 26,

2016. In particular, and in contrast to the figures presented in the April 2016 Form 10-Q,

Centene accounted for Health Net as follows:

              Assets acquired and liabilities assumed
              Cash and cash equivalents                            $            1,368
              Premium and related receivables                                   1,086
              Short term investments                                               82
              Other current assets                                                638
              Long term investments                                             1,966
              Restricted deposits                                                  36
              Property, software and equipment, net                                41
              Intangible assets                                                 1,500
              Other long term assets                                              204
                  Total assets acquired                                         6,921

              Medical claims liability                                          1,462


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              Borrowings under revolving credit facility                           285
              Accounts payable and accrued expenses                              2,030
              Return of premium payable                                            375
              Unearned revenue                                                     117
              Long term deferred tax liabilities                                   349
              Long term debt                                                       418
              Other long term liabilities                                          452
                 Total liabilities assumed                                       5,488

                 Total identifiable net assets                                   1,433
              Goodwill                                                           3,850
                 Total assets acquired and liabilities assumed                   5,283

       111.     The $390 million in increased liabilities were massive in context, greatly eclipsing

the pre-tax earnings of the entire Health Net company in recent years. In 2013 and 2014, Health

Net averaged only $235 million annually in pre-tax earnings. The over $300 million in increased

liabilities for 2016 greatly outstripped those annual earnings figures.

       112.     Centene accounted for the approximately $300 million in increased liabilities for

the period of March 25, 2016 through December 31, 2016 using a “premium deficiency reserve,”

or “PDR.” PDRs are required when there is a probable loss on unearned insurance premiums.

As alleged in the Securities Action, Centene’s use of purchase accounting rules to record the

PDR violated GAAP.

       113.     Before the market closed on July 26, 2016, Centene executives made further

admissions that they knew of Health Net reserve issues before the March 24, 2016 Merger, and

thus before the filing of the April 26, 2016 Form 10-Q. In response to analyst questions

regarding the extent to which the PDR was related to substance abuse issues and “how much of

the PDR is actually really resolved,” Defendant Neidorff stated that “we knew some of this was

there,” and that “[t]his is something we inherited. And it was prior to the 24th [of March]

when those things were set.” [Emphasis added]. Defendant Schwaneke further stated that the

$300 million PDR “was based on information as of March 24.”


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       114.    Defendants further explained that the substance abuse issue with Health Net’s

California individual business was due to known policy “plan design.” Neidorff stated that he

had “personally been involved in and pushing and discussing” changes to the policy plan

design, as Centene had been “working with the states at the highest levels to redesign the PPO

product” and “[t]here were major flaws in it.” [Emphasis added]. Neidorff stated that Centene

had been working on the plan design “for the past several months” and that the increased

liabilities recognized on July 26, 2016 regarded “a whole list of issues that have been dealt with

very aggressively.” Neidorff stated, “I’ve had several meetings personally with Commissioner

Jones,” and continued: “We’ve talked about it . . . We’ve talked about the actions we are taking”

and “we are being very aggressive in fixing it.” Defendants stated that “the issue we had in the

PPO is isolated to the PPO products in California” and “[w]e have taken steps to mitigate the

substance abuse treatment center costs in the individual commercial business in California,

including modifications to plan design.”

       115.    The Board of Directors,




       116.                                                       to the Board on

                   The Board received the




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                                                                            [Emphasis added].

       117.     The Board also learned through the




                                                                                   The Board also

learned that this



              [Emphasis added].

       118.     On June 23, 2017, CDI issued an Order to Show Cause against Health Net,

identifying the complaints CDI had received from substance abuse centers for the company’s

failure to remit payments and other failures to handle claims payments in good faith. CDI

declared in the order that, “Health Net’s payment [] methodology is improper and resulted in the

underpayment and unfair settlement of claims,” attempting to use payment terms not included in

the policies as written. CDI also made clear that Health Net violated California law in refusing

these payments, including the California Unfair Competition Law and the Mental Health Parity

and Addiction Equity Act of 2008.

       119.     On July 17, 2017, a securities fraud class action complaint was filed in the Eastern

District of Missouri, Sanchez v. Centene Corp., 4:17-cv-00806-AGF, alleging that Centene and

Defendants Neidorff and Schwaneke violated Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 for their statements regarding Health Net’s valuation and reserves for the

period between April 26, 2016 and July 25, 2016 (the “Securities Action”).




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       120.   As the Securities Action alleges, because Centene accounted for $300 million of

the $390 million in increased liabilities from the July 26, 2016 Company disclosures using

purchase accounting rules (in violation of GAAP), there was no impact on Centene’s income

statement. However, Centene executives admitted that, without the Company’s use of purchase

accounting rules regarding the material PDR changes, Centene’s quarterly pre-tax earnings

would have been reduced by $300 million (84%), severely impacting the earnings per share

metric that the Company reported to analysts and investors. As a result, on July 26, 2016, the

price of Centene common stock declined by $6.39 per share, approximately 8.5%, erasing over

$1 billion of shareholder value on high trading volume.

       121.   Following the July 26, 2016 disclosures, Defendants reiterated that the $90

million and $300 million increased liabilities were due to claims experience that had increased

long before the Company’s corrective disclosures. On July 27, 2016, Defendant Neidorff was

interviewed by television host Jim Cramer regarding the July 26, 2016 accounting changes.

Cramer stated that it was a “red flag” that Centene had “increased its substance abuse treatment

cost reserves by $90 million as well as recording a $300 million premium deficiency reserve for

its business in Arizona, California, and Oregon – that’s what upset people.” Neidorff stated that

there had been “some issues in California with the individual plan, there were problems in

Arizona with non-profitable business,” and admitted that “[w]e knew this when we bought it.”

Neidorff admitted that “before [Centene] closed” the Merger, they “knew” that the California

policies “had a bad product design” and the Individual Defendants were “working very closely

with the [California] Department of Insurance” regarding it. [Emphasis added].




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VIII. DERIVATIVE ALLEGATIONS

       122.    Plaintiffs brings this action derivatively in the right of and for the benefit of

Centene to redress the breaches of fiduciary duty and other violations of law committed by the

Individual Defendants, as alleged herein.

       123.    Plaintiffs will adequately and fairly represent the interests of Centene and its

shareholders in enforcing and prosecuting the Company’s rights, and Plaintiffs have retained

counsel experienced in prosecuting this type of derivative action. Plaintiffs have continuously

held Centene stock throughout the Relevant Period and will continue to hold Centene stock

through the resolution of this action.

       124.    Plaintiffs have not made a pre-suit demand on the Board to assert the claims set

forth herein against the Individual Defendants because such a demand would have been futile,

and is thereby excused, since the allegations herein, at a minimum, permit the inference that the

directors lack the requisite disinterest to determine fairly whether these claims should be

pursued.

IX.    DEMAND FUTILITY ALLEGATIONS

       125.    The Director Defendants have instituted several measures that entrench their

positions and are antithetical to their accountability to shareholders, including: imposing a

staggered board and “classes” of directors, so that only two or three directors are answerable to

public shareholders at any given annual meeting; and limiting shareholder proxy access to a 30-

day period, instituting a “maximum number” of two shareholder nominees per annual meeting

and imposing other restrictions on shareholder proxy access.

       126.    It is clear that a pre-suit demand on the Centene Board of Directors would be a

futile and useless act for the following reasons:




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               (a)     The Centene Board is beholden to Defendant Neidorff, the Company’s

Chairman and CEO, who personally orchestrated the Merger and publicly stated that he knew

before the close of the Merger that Health Net’s individual California policies were poorly

designed and incurring greater than expected losses;

               (b)     Centene’s Proxy Statement filed with the SEC on March 10, 2017

expressly states that Defendant Neidorff is not independent according to New York Stock

Exchange (“NYSE”) rules;

               (c)     The public statements by Health Net regarding its own dramatic claims

increases in California; the extensive due diligence the Board conducted before the Merger

regarding Health Net’s business; the Board’s unanimous approval of the Merger and execution

and filing of the Proxy; the Board’s knowledge of the regulatory scrutiny of the Merger, delaying

the closing date of the Merger, and the financial consequences presented to the Board regarding

such delay; Executive Vice President of International Operations and Business Integration

Brinkley’s, constant implementation and integration updates to the Board regarding Centene’s

integration with Health Net; the key financial figures provided to the Board showing that Health

Net’s assets and liabilities were not as reported in the Proxy that they had executed and filed with

the SEC; their continuing failure to correct the information purported to support their unanimous

approval of the Merger; the Board’s review, authorization and filing of the Company’s later

financial statements that continued to misstate Health Net’s financials and that became the

subject of a securities class action against the Company until the true nature of the Company’s

business was finally revealed on July 26, 2016; the artificial inflation of the price of Centene

common stock; the authorization of the share repurchases causing the Company to repurchase its

own shares at fraud-inflated prices; all constitute knowing and active personal participation by




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the Director Defendants of the misconduct alleged herein, and are breaches of fiduciary duty that

disqualify them from impartially considering demand;

                (d)   Director Defendants Eppinger, Roberts, and Escarra, as members of the

Audit Committee, are also disqualified from considering demand due to their complicity in the

misconduct described herein and their failure to uphold their fiduciary duties, as described in the

Audit Committee Charter, to review the Company’s audited financial statements and other

financial reporting and ensure that the Board provides sufficient internal control over financial

reporting;

                (e)   Director Defendant Escarra is additionally disqualified from considering

demand due to her past position as a director of Health Net from July 2006 until the close of the

Merger on March 24, 2016. Her past directorship on the Health Net board gave her further

access to information regarding Health Net’s financial condition that was not disclosed to

shareholders.

                (f)   The Director Defendants have also each violated Centene’s Code of

Conduct by: (i) unanimously approving the terms of the Merger and soliciting shareholder votes

for the Merger without disclosing the true nature of Health Net’s financial condition; (ii) failing

to cause Centene to comply with all applicable laws and regulations, including the federal

securities laws; (iii) failing to maintain internal controls, corporate governance and compliance

procedures which could have caused the discontinuance, or at least abatement, of the illicit

scheme; and (iv) failing to cause Centene to appropriately maintain the Company’s financial

statements and accurately report its financial performance on filings made with the SEC.

                (g)   The Director Defendants have demonstrated a longstanding unwillingness

or inability to act to uphold their fiduciary obligations to the detriment of the Company, and will




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not sue themselves and/or their fellow directors and allies in the top ranks of the corporation for

the violations of law complained of herein, of which there is a substantial likelihood of liability.

The Individual Defendants have developed professional relationships with each other, and

therefore are not able to and will not vigorously prosecute any such action.

               (h)     The Director Defendants participated in and approved the wrongdoing

described herein and participated in efforts to conceal or disguise those wrongs from Centene’s

shareholders, and are therefore not disinterested parties. As a result of their attendance at the

Board meetings in the minutes (reviewed by Plaintiffs), each of the Individual Defendants knew

the adverse non-public information regarding Health Net’s adverse California substance abuse

claims and related financial underperformance.          Pursuant to their specific duties as Board

members, the Director Defendants are charged with oversight of the Company and its

compliance with the law. The Director Defendants breached the fiduciary duties of loyalty they

owed to Centene and its shareholders in that they failed to prevent and correct known securities

fraud violations and false financial reporting, and acquiesced to Defendant Neidorff in allowing

the Company to carry out a shareholder solicitation for the Merger based on false pretenses and

incomplete financial information, thereby incentivizing continued noncompliance. Thus, each

Director Defendant is incapable of independently and disinterestedly considering a demand to

commence and vigorously prosecute this action.

               (i)     The Director Defendants have benefitted, and will continue to benefit,

from the wrongdoing herein alleged and have engaged in such conduct to preserve their positions

of control and the perquisites derived thereof, and have failed to timely institute reforms that

would allow accurate financial reporting.       The Director Defendants are thus incapable of




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exercising independent judgment in deciding whether to commence and vigorously prosecute

this action.

               (j)    Centene has been and will continue to be exposed to significant losses due

to the wrongdoing complained of herein, yet the current Board has not filed any lawsuits against

itself or others who were responsible for that wrongful conduct to attempt to recover for Centene

any part of the damages Centene suffered and will suffer thereby.

               (k)    Defendants Neidorff and Schwaneke are already defending claims in the

Securities Class Action.    The Director Defendants reviewed the due diligence and other

information forming the basis of the incomplete or inaccurate financial disclosures complained

of in the Securities Action and herein, and as such are similarly situated to these defendants. The

participation of Defendants Neidorff and Schwaneke in the alleged securities fraud therefore

disqualifies the Director Defendants from independently considering demand.

               (l)    In order to bring this action for breaching their fiduciary duties, the

Director Defendants would have been required to sue themselves and/or their fellow directors

and executives in the top ranks of the Company, who are their personal friends and with whom

they have entangling financial alliances, interests and dependencies, which they would not do.

X.      DAMAGES TO CENTENE

        127.   The Individual Defendants breached their duties of loyalty and good faith by: (i)

unanimously approving of the Merger and execution and filing of the Proxy, disregarding public

statements by Health Net regarding its own dramatic claims increases in California and the

extensive due diligence the Board conducted before the Merger regarding Health Net business;

and (ii) authorizing the Company’s filing of false and misleading financial statements that failed

to disclose the true nature of the schemes herein described. As a result of these breaches,




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Centene has incurred significant expenses, and will continue to expend significant sums,

including:

               (a)     the amount of the premium Centene paid over the actual value of Health

Net’s business in connection with the Merger, due to the Director Defendants’ failure to carry

out their fiduciary duties to the Company,

                                     ;

               (b)     damages to the Company in the form of an increase to Health Net

substance abuse treatment cost reserves by $90 million as well as recording a $300 million

premium deficiency reserve for its business in Arizona, California, and Oregon, which was

known to the Individual Defendants before entry into the Merger, in addition to any other costs

incurred as a result of delaying payment to substance abuse treatment facilities;

               (c)     costs incurred to carry out internal investigations, including the costs of

legal and other fees paid to outside counsel, auditors, and other experts, and including the costs

paid to Allen & Co. and Evercore in connection with the Merger, to render worthless opinions

based on Company-adjusted financial information at the direction of the Individual Defendants;

               (d)     resultant loss of business and business opportunities;

               (e)     loss in market value and shareholder equity;

               (f)     legal fees, costs, and amounts payable in settlement or satisfaction of the

Securities Action brought against the Company related to the foregoing wrongdoing; and

               (g)     the increased capital costs the Company will incur as a result of loss of

market capitalization and the Company’s damaged reputation in the investing community as a

result of the foregoing.




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       128.    Centene has been directly and substantially injured by reason of the Individual

Defendants’ intentional breach and/or reckless disregard of their fiduciary duties of loyalty to the

Company. Plaintiffs, as shareholders and representatives of Centene, seek damages and other

relief for the Company, in an amount to be proven at trial.

XI.    CLAIMS FOR RELIEF

                                            COUNT I
                         Violation of Section 14(a) of the Exchange Act
                               Against All Individual Defendants

       129.    Plaintiffs incorporate ¶¶1-128 by reference and reallege each and every allegation

set forth above, as though fully set forth herein, except for any allegation based on fraud,

scienter, or recklessness.

       130.    The Director Defendants disseminated the false and misleading Proxy specified

above, which failed to disclose material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading.

       131.    The Proxy was prepared, reviewed, and/or disseminated by the Director

Defendants. It misrepresented and/or omitted material facts, including material information

about the Company’s and Health Net’s business prospects.

       132.    In so doing, the Director Defendants made untrue statements of material facts and

omitted to state material facts necessary to make the statements that were made not misleading in

violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

       133.    The Director Defendants were negligent in filing the Proxy with these materially

false and misleading statements.

       134.    The omissions and false and misleading statements in the Proxy are material in

that a reasonable stockholder would consider them important in deciding how to vote on whether

to vote in favor of the Merger. In addition, a reasonable investor would view a full and accurate


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disclosure as significantly altering the “total mix” of information made available in the Proxy

and in other information reasonably available to stockholders.

       135.    By reason of the foregoing, the Director Defendants have violated §14(a) of the

Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

       136.    The Company was damaged as a result of the Director Defendants’ material

misrepresentations and omissions in the Proxy as described herein.

                                            COUNT II
                                   Breach of Fiduciary Duty
                                Against All Individual Defendants

       137.    Plaintiffs incorporate ¶¶1-136 by reference and reallege each and every allegation

set forth above, as though fully set forth herein.

       138.    Each of the Individual Defendants owed and owe Centene and Centene

shareholders the highest fiduciary obligations of loyalty in managing the Company’s affairs.

       139.    As detailed above, the Individual Defendants breached their fiduciary duties of

loyalty, including acting without good faith, by knowingly soliciting shareholder votes in favor

of the Merger and by causing the Company to violate the federal securities laws. The Individual

Defendants were repeatedly informed through due diligence updates, financial reports, and

business integration updates that the Company’s statements were misleading and that the

Company was violating positive law in failing to disclose the true nature of the Company’s

business, and that the Company lacked sufficient internal controls to properly enforce

compliance with the law.

       140.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary duties, Centene has suffered damages, not only monetarily, but also to its corporate

image and goodwill.




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                                            COUNT III
                                       Constructive Fraud
                                 Against All Individual Defendants

       141.    Plaintiffs incorporate ¶¶1-141 by reference and reallege each and every allegation

set forth above, as though fully set forth herein.

       142.    As corporate fiduciaries, the Individual Defendants owed to Centene and its

shareholders a duty of candor and full and accurate disclosure regarding the true state of

Centene’s business and assets and their conduct with regard thereto.

       143.    As a result of the conduct complained of herein, the Individual Defendants caused

Centene to violate the federal securities laws and to make numerous misrepresentations and/or

conceal material facts from Centene’s shareholders, despite the Individual Defendants’ duties to

ensure the Company disclosed the true facts regarding the Company’s business and their control

of the Company.      The Individual Defendants have thus committed constructive fraud and

violated their duty of candor.

       144.    As a direct and proximate result of the Individual Defendants’ constructive fraud,

Centene has suffered damages, not only monetarily, but also to its corporate image and goodwill.

XII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment as follows:

       A.      Declaring that Plaintiffs may maintain this derivative action on behalf of Centene

and that Plaintiffs are proper and adequate representatives of the Company;

       B.      Declaring that the Individual Defendants have breached their fiduciary duties of

loyalty and candor to Centene and Centene’s shareholders;

       C.      Determining and awarding to Centene the damages sustained by it, as a result of

the breaches of fiduciary duty and other claims set forth above from each of the Individual

Defendants, jointly and severally;


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       D.      Directing Centene to take all necessary actions to reform and improve its

corporate governance and internal procedures, to enable the Company to comply with the

Company’s existing governance obligations and all applicable laws, and to protect the Company

and its shareholders from a recurrence of the damaging events described herein, including but

not limited to the following specific relief:

             (i)       requiring the Company to put forward for shareholder vote resolutions for

amendments to the Company’s Bylaws and/or Articles of Incorporation allowing for increased

shareholder proxy access, eliminating the Company’s staggered Board structure, and increasing

the number of Board members; and

            (ii)       requiring the Company to implement additional audit, compliance, and

internal control procedures;

       E.      Awarding to Plaintiffs the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses;

       F.      Awarding pre- and post-judgment interest; and

       G.      Granting such other and further relief as the Court deems just and equitable.

XIII. JURY DEMAND

       Plaintiffs demand a trial by jury.

DATED: March 9, 2018                                     ELIAS GUTZLER SPICER LLC

                                                           /s/ Greg G. Gutzler
                                                         Greg G. Gutzler (EDMO Bar #48893MO)
                                                         Richard M. Elias (EDMO Bar #53820MO)
                                                         Tamara M. Spicer (EDMO Bar #54037MO)
                                                         130 S. Bemiston Ave., Suite 302
                                                         St. Louis, MO 63105
                                                         Telephone: (314) 274-3311
                                                         ggutzler@egslitigation.com
                                                         relias@egslitigation.com
                                                         tspicer@egslitigation.com



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                                             Geoffrey M. Johnson
                                             Scott R. Jacobsen
                                             Jonathan M. Zimmerman
                                             SCOTT+SCOTT
                                             ATTORNEYS AT LAW LLP
                                             The Helmsley Building
                                             230 Park Avenue, 17th Floor
                                             New York, NY 10169
                                             Telephone: (212) 223-6444
                                             Facsimile: (212) 223-6334
                                             gjohnson@scott-scott.com
                                             sjacobsen@scott-scott.com
                                             jzimmerman@scott-scott.com

                                             KEHOE LAW FIRM, P.C.
                                             Two Penn Center Plaza
                                             1500 JFK Boulevard, Suite 1020
                                             Philadelphia, PA 19102
                                             Telephone: (215) 792-6676
                                             info@kehoelawfirm.com

                                             Attorneys for Plaintiffs Laura Wood and
                                             Peoria Police Pension Fund




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                     EXHIBIT B
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Dear Commissioner Jones:

This letter is to alert you to the inappropriate dragnet audit of California
substance abuse treatment facilities by Health Net. In January and February of
2016, Health Net sent the attached audit letters to the vast majority of treatment
facilities in California.

The substance abuse treatment industry has concerns that this audit is
extraordinary and has never been performed for the medical/surgery part of the
healthcare industry. In essence, the substance abuse treatment industry is being
singled out for audit, which may be a violation of the Mental Health Parity and
Addiction Equity Act. As opposed to investigating potential bad actors, Health Net
has decided to audit essentially every treatment facility, placing numerous into
financial jeopardy.

In addition, the Health Net audit is a retroactive audit requesting medical
necessity documentation for treatment that has already been completed by our
patients. The net result is to claw back reimbursements, an inappropriate tactic
that results in treatment services being provided for little to no compensation.
For example, no pre-authorization is required for intensive outpatient services, so
treatment facilities admit patients and provide treatment only to have claims
denied 120 days or more from the date of discharge. In addition, at least one
treatment facility reports receiving payment from Health Net, depositing the
check/s, only to discover that Health Net placed a stop payment on the funds.

Some treatment facilities report they have not been paid since November 2015.
The majority found their payments suspended beginning in January and February
of 2016. The withholding of payments by Health Net for services already provided
has put facilities all over California at substantial financial risk due to delayed or
non-payment.

The few treatment centers that have received checks report that the manner in
which Health Net has consistently paid claims from January 2014-February 2016
has changed. Instead of paying 75% of billed after all co-insurance has been met,
Health Net is now paying pennies on the dollar.
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It has also put any potential patient currently insured by Health Net at risk
because Health Net has very few in-network addiction treatment facilities and the
majority of out-of-network providers are hesitant to take Health Net clients due
to a lack of payment for treatment provided as far back as November of 2015.
Health Net insured who need treatment now have no ability to get it with a PPO
Health Net policy, which comes with very high premiums and co-insurance; they
are currently ineligible to select a new insurance policy before January 1, 2017.

Further, Health Net has been issuing generic boilerplate denial letters which are in
direct violation of parity. Despite the fact that the information has been provided
to Health Het by the substance abuse treatment facility, denial letters request the
same information numerous times. Denial letters are also requesting proof of
deductible, copay and coinsurance before any claim can be processed, coupled
with excessive concurrent reviews. These same requirements are not required for
medical/surgical providers, which is a violation of parity.

At the beginning of 2016, Health Net cancelled PPO plans for all but two Los
Angeles County geographic zip codes: 906xx and 912xx. This forced people in
treatment to seek new policies instead of focusing upon their care. This is just one
example of how Health Net has created emotional and psychological distress for
those suffering from a chronic brain disease, which often leads to a substance use
reoccurrence/relapse.

The substance abuse treatment industry is committed to helping clients get sober.
This is often a life-saving service. The Health Net practice of delaying payments,
performing a dragnet audit of substance abuse treatment facilities in California, as
well as forcing clients in treatment and in certain zip codes to seek new insurance
policies is inappropriate. It puts Health Net insured, who need treatment for a
chronic brain disease, at health risk.

Facilities that have filed formal complaints with the California Department of
Insurance have received “cease and desist” letters from Health Net indicating that
the facility should no longer contact Health Net employees and executives about
the ongoing audit.

The Addiction Treatment Advocacy Coalition (ATAC) implores the California
Department of Insurance and Attorney General to investigate the legality of the
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Health Net dragnet audit and the withholding of payments for services already
provided by treatment facilities. We are concerned that the audit itself violates
the Mental Health Parity and Addiction Equity Act, as well as a host of other
California insurance laws and regulations.

Sincerely,

List of treatment facilities and CEO/Owners
